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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:02CR419
                              )
          v.                  )
                              )
JEVAUGHN D. ERWIN,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s

application (Filing No. 144) seeking a certificate of

appealability with respect to the denial of his motion filed

pursuant to 28 U.S.C. § 2255 (Filing Nos. 138 and 139), and the

order (Filing No. 141) denying his motion (Filing No. 140) to

alter or amend his judgment.        Also pending is an application to

proceed in forma pauperis (Filing No. 143).            That application

will be granted.

           Title 28, United States Code, § 2253(c)(1)(B) provides:

                 Unless a circuit justice or judge
                 issues a certificate of
                 appealability, an appeal may not be
                 taken to the Court of Appeals from
                 --
                           * * *

                 (B) the final order in a proceeding
                 under § 2255.

Section 2253(c)(2) provides:

                 A certificate of appealability may
                 issue under Paragraph (1) only if
                 the applicant has made a
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                 substantial showing of the denial
                 of a constitutional right.

           After reviewing the defendant’s § 2255 motion, the

response of the government and this Court’s order and judgment

denying that motion, the Court finds defendant has failed to make

a substantial showing of the denial of a constitutional right,

and his request for certificate of appealability will be denied.

Accordingly,

           IT IS ORDERED:

           1) Defendant’s application to proceed in forma pauperis

is granted.

           2) Defendant’s application for certificate of

appealability is denied.

           DATED this 12th day of February, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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